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\ | PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order wwreosrares

POSTAL SERVICE T

 

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator informatign for investigating possible missing or delayed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Political and/or Election Mail. District: tit Cyt , L-S7 | Name; MOLEC So
Title: O25 Phone #,_ 6/0 8837 SCOor
‘ ‘ Commenis:
Check box | Section/Operation:
when checked Dattnas:the woreurey fo besworched. spenhice include copies of PMOD label and /or
container placard. Names of individuals contacted
al incoming dock
[J BMEU & BMEU Plant Staging
" Opening units
[4 AO / Station dispatch area
7] Outbound dock
Outgoing Dispatch Area
Trailers in yard (Yard Check)
wo
MTE Plant Staging Area
LJ - MTE trailers
LJ Site MTESC Ao
[_] PARS Staging and Operations pe dP
LA Rewrap Operations
[| CFS (if applicable) AJA
" BRM/Postage Due

 

 

 

 

 

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